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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
UNITED STATES OF AMERICA, : Case No. 3:20-cr-53
Plaintiff, : Judge Walter H. Rice

V.
JUSTIN I. WOODS,

Defendant.

PRELIMINARY ORDER OF FORFEITURE

Upon the United States’ Motion for Preliminary Order of Forfeiture and the Court’s review
of the evidence in the record, including the Plea Agreement, the Court HEREBY FINDS THAT:

On June 2, 2020, a grand jury in the Southern District of Ohio returned a one-count
Indictment charging Justin I. Woods (hereinafter the “Defendant”) with possession of a firearm
after having been previously convicted of a felony offense, in violation of 18 U.S.C. §§ 922(g)(1)
and 924(a)(2).

A forfeiture allegation in the Indictment provided notice to the Defendant that the United
States would seek the forfeiture, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), of all
firearms and ammunition involved in or used in the commission of the offense.

On December 2, 2020, the Defendant entered into a Plea Agreement with the United States
in which the Defendant agreed to plead guilty to Count | of the Indictment and agreed to the
immediate forfeiture, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), of the following
as property involved in the commission of the offense (the “subject property”):

° Del-Ton Inc. DTI-15 Rifle CAL: 556, Serial No. DTI-S013858;

° Glock GMBH 19 Pistol CAL: 9, Serial No. UVY450;
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e 29 Rounds Assorted Ammunition CAL: 9;

e 45 Rounds Assorted Ammunition CAL: 9;

° 15 Rounds Federal Ammunition CAL: 12;

° 31 Rounds Other Ammunition CAL 223; and

e 61 Rounds Federal Ammunition CAL 223.

The Defendant entered a plea of guilty to Count | of the Indictment on December 2, 2020.

The subject property is forfeitable, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.
§ 2461(c), as property involved in the commission of the offense set forth in Count | of the
Indictment to which the Defendant has pleaded guilty. The Defendant had an interest in the
subject property.

The United States has established the requisite nexus between the subject property and the
Defendant’s offense.

THEREFORE, IT IS HEREBY ORDERED THAT:

1, All right, title, and interest in the subject property is condemned and forfeited to the
United States pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c).

2. The United States is authorized to seize the subject property, pursuant to 21 U.S.C.
§ 853(g) and Fed. R. Crim. P. 32.2(b)(3), whether held by the Defendant or a third party; conduct
any discovery for identifying, locating, or disposing of the property; and to commence proceedings
that comply with any statutes governing third party rights.

a. In accordance with the direction provided by the Attorney General and Fed. R.
Crim. P. 32.2(b)(6), the United States shall publish notice of this Order and send notice to any
person who reasonably appears to be a potential claimant with standing to contest the forfeiture in

the ancillary proceeding. Publication must take place as described in Supplemental Rule

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G(4)(a)(iii) of the Federal Rules of Civil Procedure, and may be by any means described in
Supplemental Rule G(4)(a)(iv). Publication is unnecessary if any exception in Supplemental Rule
G(4)(a)(i) applies.

4, The notice must describe the forfeited property, state the times under the applicable
statute when a petition contesting the forfeiture must be filed, and state the name and contact
information for the Assistant United States Attorney to be served with the petition. The notice
may be sent in accordance with Supplemental Rules G(4)(b)(i1i)-(v).

5. Pursuant to 21 U.S.C. § 853(n)(2), any person, other than the Defendant, asserting
a legal interest in the subject property, who wishes to contest the forfeiture of the subject property
must, within thirty (30) days of the final publication of notice or of receipt of actual notice,
whichever is earlier, file a petition in the United States District Court for the Southern District of
Ohio for a hearing to adjudicate the validity of the alleged legal interest in the subject property.

6. Any petition filed by a third party shall be signed by the petitioner under penalty of
perjury and shall set forth the nature and extent of the petitioner’s right, title, or interest in the
property; the time and circumstances of the petitioner’s acquisition of the right, title, or interest in
the property; any additional facts supporting the petitioner’s claim; and the relief sought.

7. The United States shall have clear title to the subject property following the Court’s
disposition of all third party interests, or if no third party petitions are timely filed, following the

expiration of the period provided by statute for the filing of third party petitions.
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8. In accordance with the Plea Agreement, this Preliminary Order of Forfeiture is final
as to the Defendant and shall be made part of the sentence and included in the Judgment. This
Order remains preliminary as to third parties until the ancillary proceeding is concluded.

SO ORDERED:
Dated: (-11->\ Ce, ei.

WALTER H. RICE
UNITED STATES DISTRICT JUDGE

 
